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Zeynep Graves

From:                           Nevin Young <nevinyounglaw@gmail.com>
Sent:                           Friday, May 21, 2021 5:04 PM
To:                             Zeynep Graves
Subject:                        Re: Document production deficiencies & site inspection

Follow Up Flag:                 Follow up
Flag Status:                    Flagged



I will try to find new contact information for Mr. Carden. Also, Mr. Candy said that he could not do a weekend
site visit but we could do the Wednesday or Thursday before the proposed date, or the Wednesday or Thursday
after. Please let me know. Also, please let me know who will be attending.

Very Truly Yours,

Nevin L. Young
410-353-9210

On Fri, May 21, 2021 at 1:50 PM Zeynep Graves <ZeynepG@petaf.org> wrote:

 Nevin,



 Tina Rosa at the Allegany County Animal Shelter informed us that Mr. John Carden has not worked for the
 shelter for several years. Please provide us with updated contact information for Mr. Carden, who Defendants
 identified as an individual likely to have discoverable information.



 Also, please let us know if the proposed site inspection date, Sunday, June 13, works for Mr. Candy.



 Thank you,



 Zeynep Graves

 Litigation Manager

 PETA Foundation

 2154 W. Sunset Blvd.

 Los Angeles, CA 90026

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   T: (323) 210-2263

   F: (213) 484-1648



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message and its attachments. Thank you.




From: Abelson, Adam <AAbelson@zuckerman.com>
Sent: Thursday, May 13, 2021 6:04 PM
To: Nevin Young <nevinyounglaw@gmail.com>
Cc: Hasbun, Marcos E. <mhasbun@zuckerman.com>; Zeynep Graves <ZeynepG@petaf.org>; Caitlin Hawks
<CaitlinH@petaf.org>; James Erselius <jamese@petaf.org>
Subject: Document production deficiencies & site inspection



EXTERNAL

Nevin,



Attached please find (1) a letter regarding deficiencies in Defendants’ document production and (2) a
request for a site inspection. We would like to schedule the site inspection for Sunday, June 13.
Would that date work for Mr. Candy?



Adam




                                Adam Abelson
                                Zuckerman Spaeder LLP
                                AAbelson@zuckerman.com




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